Case 3:16-md-02741-VC Document 2791-16 Filed 02/21/19 Page 1 of 8




              EXHIBIT 16
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    Case 3:16-md-02741-VC Document 2791-16 Filed 02/21/19 Page 2 of 8
.
    Case 3:16-md-02741-VC Document 2791-16 Filed 02/21/19 Page 3 of 8
.
    Case 3:16-md-02741-VC Document 2791-16 Filed 02/21/19 Page 4 of 8
.
    Case 3:16-md-02741-VC Document 2791-16 Filed 02/21/19 Page 5 of 8
.
    Case 3:16-md-02741-VC Document 2791-16 Filed 02/21/19 Page 6 of 8
.
    Case 3:16-md-02741-VC Document 2791-16 Filed 02/21/19 Page 7 of 8
.
    Case 3:16-md-02741-VC Document 2791-16 Filed 02/21/19 Page 8 of 8
